Case 1:15-cr-00040-MAC-KFG           Document 106        Filed 10/15/15     Page 1 of 5 PageID #:
                                            292




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 VS.                                             §    CASE NO. 1:15-CR-40(3)
                                                 §
 SARA DARLENE HAILEY                             §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On October 15, 2015, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, Sara Darlene Hailey, on Count One of the

 charging Second Superseding Indictment filed in this cause.           Count One of the Second

 Superseding Indictment charges that on or about December 1, 2014, and continuing thereafter

 until December 5, 2014, in the Eastern District of Texas and elsewhere, Sara Darlene Hailey and

 Maria Isabel Arreola, defendants herein, traveled in interstate commerce from the State of Ohio

                                                -1-
Case 1:15-cr-00040-MAC-KFG           Document 106         Filed 10/15/15     Page 2 of 5 PageID #:
                                            293



 to the State of Texas, with the intent to promote, manage, establish, carry on, and facilitate the

 promotion, management, establishment and carrying on of an unlawful activity, that is, a

 business enterprise involving narcotics in violation of Title 21, United States Code, Section 846,

 and thereafter performed and attempted to perform an act to promote, manage, establish, and

 carry on, and to facilitate the promotion, management, establishment, and carrying on of such

 unlawful activity, in violation of 18 U.S.C. §§ 1952(a)(3).

        Defendant, Sara Darlene Hailey, entered a plea of guilty to Count One of the Second

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement and a

 plea agreement addendum which was disclosed and addressed in open court, entered into the

 record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not



                                                -2-
Case 1:15-cr-00040-MAC-KFG             Document 106       Filed 10/15/15   Page 3 of 5 PageID #:
                                              294



 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

         d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that her conduct falls within the definition of the crime charged under 18 U.S.C.

 § 1952(a)(3).

                                    STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of witnesses, including expert witnesses, and through admissible

 exhibits, each and every essential element of the crime charged in Count One of the Second

 Superseding Indictment. The parties also stipulated that the Government would also prove that

 the defendant is one and the same person charged in Count One of the Second Superseding

 Indictment and that the events described in the Second Superseding Indictment occurred in the

 Eastern District of Texas. The Court incorporates the proffer of evidence described in detail in

 the factual basis in support of the guilty plea.

         Defendant, Sara Darlene Hailey, agreed with and stipulated to the evidence presented in

 the factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

 and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

 presented by the Government and personally testified that she was entering her guilty plea

 knowingly, freely and voluntarily.



                                                    -3-
Case 1:15-cr-00040-MAC-KFG          Document 106       Filed 10/15/15     Page 4 of 5 PageID #:
                                           295



                              RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Second Superseding Indictment

 on file in this criminal proceeding. The Court also recommends that the District Court accept the

 plea agreement and the plea agreement addendum pursuant to Federal Rule of Criminal Procedure

 11(c). Accordingly, it is further recommended that Defendant, Sara Darlene Hailey, be finally

 adjudged as guilty of the charged offense under Title 18, United States Code, Section

 1952(a)(3).

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement and any plea agreement addendum, the federal

 sentencing guidelines and/or the presentence report because the sentencing guidelines are

 advisory in nature.   The District Court may defer its decision to accept or reject the plea

 agreement and addendum until there has been an opportunity to consider the presentence report.

 See FED. R. CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise

 Defendant in open court that it is not bound by the plea agreement and Defendant may have the

 opportunity to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED.

 R. CRIM. P. 11(c)(3)(B). If the plea agreement or addendum is rejected and Defendant still



                                              -4-
Case 1:15-cr-00040-MAC-KFG           Document 106         Filed 10/15/15     Page 5 of 5 PageID #:
                                            296



 persists in the guilty plea, the disposition of the case may be less favorable to Defendant than that

 contemplated by the plea agreement. Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review by a

 district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
      .
 factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

 by Congress and the courts require that, when a party takes advantage of his right to object to a

 magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

 by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                         SIGNED this the 15th day of October, 2015.




                                                            ____________________________________
                                                            KEITH F. GIBLIN
                                                            UNITED STATES MAGISTRATE JUDGE

                                                -5-
